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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 NEIGHBORFAVOR INC.                             §
                                                §
               Plaintiff,                       §
                                                §
 v.                                             §   CIVIL ACTION NO. _______________
                                                §
 HEY FAVOR, INC.                                §
                                                §   JURY DEMANDED
               Defendant.                       §
                                                §
                                                §

                                     COMPLAINT

      Plaintiff NeighborFavor Inc. brings this complaint against Defendant Hey

Favor, Inc.

                        NATURE OF ACTION AND JURISDICTION

      1.      This is an action for trademark infringement and counterfeiting, unfair

competition and false designation of origin, and unjust enrichment under the Lanham

Act, 15 U.S.C. § 1051 et seq., and Texas common law.

      2.      This Court has subject-matter jurisdiction under 15 U.S.C. § 1121 and

28 U.S.C. §§ 1331 and 1338. The Court has supplemental jurisdiction over the state

law claims under 28 U.S.C. § 1367(a).

      3.      Venue is proper in this District under 28 U.S.C § 1391(b)(1) because

Defendant is deemed to reside in this District under § 1391(c)(2). Venue is also

separately proper under § 1391(b)(2) because a substantial part of the events giving

rise to the claims occurred in this District.
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                                       PARTIES

      4.      Plaintiff NeighborFavor Inc. is a Delaware corporation with an address

of 2416 E. Sixth St., Austin, Texas 78702.

      5.      On information and belief, Defendant Hey Favor, Inc. is a Delaware

corporation with an address of 411 Borel Ave., Ste. 100, San Mateo, California 94402.

                                        FACTS

A.    Plaintiff and its FAVOR Business

      6.      NeighborFavor Inc. (“Favor”) is the creator, owner, and operator of a

well-known mobile application and website for an on-demand delivery platform called

FAVOR.

      7.      Favor’s platform enables consumers to browse, order, pay for, track, and

order for delivery to their homes and offices a variety of consumer products, including

for example, toiletries, food, groceries, wine, and beer. Favor’s platform also enables

consumers to receive delivery of prescription medications, and Favor customers use

and have used the service for that purpose on a regular basis.

      8.      Since at least as early as November 11, 2012, Favor has used the mark

FAVOR in standard characters, stylized word, and word and design formats. In

addition to the primary mark FAVOR, Favor also uses and has used other marks

incorporating FAVOR, including FAVOR DELIVERY and FAVOR RUNNER. Favor’s

use of these various marks (together, the “FAVOR Marks”) has been continuous,

widespread within Favor’s territories, and exclusive.




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      9.      Favor extensively markets and advertises its goods and services under

the FAVOR Marks on Favor’s website (https://www.favordelivery.com/), mobile

application, and in other online and offline advertising.

      10.     As a result of its widespread and extensive use of its FAVOR Marks,

Favor has developed considerable goodwill, public recognition, and strong trademark

rights. Consumers have come to know and trust the FAVOR Marks as designations

of quality and consistency.

      11.     As a result of Favor’s commercial success and notoriety, the company

has been profiled in numerous national news publications including Forbes, Wired,

and CNBC.

      12.     In addition to its strong and enforceable common law trademark rights,

Favor owns numerous federal registrations with the U.S. Patent and Trademark

Office (USPTO) for its FAVOR Marks, including two registrations for FAVOR, one

registration for FAVOR DELIVERY, and one registration for FAVOR RUNNER

(together, the “Favor Registrations”). U.S. Reg. Nos. 4,424,908; 6,001,531; 6,633,049;

and 6,633,048.

      13.     Each of the Favor Registrations is valid and subsisting, and Reg. No.

4,424,908 has obtained incontestable status under 15 U.S.C. § 1065.

      14.     Exhibit A contains accurate copies of the registration certificates for

the Favor Registrations.




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B.     Defendant’s Unlawful Conduct

      15.    Defendant runs a business operating publicly under the infringing mark

and name FAVOR.

      16.    Defendant offers order-fulfillment and delivery services for medications,

skin care products, and sexual wellness products, including but not limited to

contraception.

      17.    Defendant uses the infringing word mark FAVOR and the infringing

stylized mark FAVOR, pictured below, on its products and services and on its

marketing (together, the “Infringing Marks”).




      18.    Defendant previously operated under the trade name PILL CLUB for

several years. In or around March 2022, Defendant publicly rebranded its business

to FAVOR, despite Favor’s longstanding and highly public prior use of that identical

mark for closely related services. As of the date of this complaint, Defendant’s website

contains a prominent banner at the top of the main page stating, “PILL CLUB is now

Favor.”

      19.    On December 6, 2021, Defendant filed an application on an intent-to-

use basis for the word mark FAVOR with the USPTO, Ser. No. 97/157,510, covering

“mail order pharmacy services; online ordering services featuring contraceptives and

other birth control methods and devices . . . order fulfillment services” among other




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services in Class 35, as well as “telemedicine services; dispensing of pharmaceuticals”

in Class 44.

       20.     Favor has not authorized Defendant’s use of or application to register

the Infringing Marks.

       21.     Shortly after becoming aware of Defendant’s infringement, Favor sent a

cease-and-desist letter on May 11, 2022 objecting to Defendant’s use of and

application to register FAVOR. The letter advised Defendant of Favor’s senior rights

in the FAVOR Marks. Exhibit B contains an accurate copy of the letter.

       22.     Defendant responded on June 3, 2022 with a letter denying any

likelihood of confusion—despite Defendant’s use of an identical mark for closely

related services, and despite ongoing actual consumer confusion (discussed below).

C.     Effects of Defendant’s Unlawful Conduct

       23.     Defendant’s unauthorized use of and application to register the

Infringing Marks is likely to cause confusion, to cause mistake, or to deceive

customers and potential customers. Consumers and potential consumers are likely to

believe that the parties are either the same company or affiliated in some way, when

in fact they are not.

       24.     The likelihood of confusion is particularly high because the parties’

marks are identical and because the parties’ services are closely related and, in some

respects, identical (i.e., delivery services).

       25.     The likelihood of confusion is also particularly high because Defendant’s

offerings and marketing travel in similar trade channels for purchase by the same or



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similar consumers as Favor’s. And specifically, both parties’ offerings enable

customers to order delivery of pharmacy and prescription medicine products.

      26.    Favor has already encountered multiples instances of actual consumer

confusion. For example, Exhibit C contains accurate copies of emails received by

Favor’s customer support from consumers plainly indicating actual confusion.

      27.     In one such email, the consumer wrote, “I’ve been a member of The Pill

Club for a few years, and remained such during the transition to Favor.” The

consumer goes on to describe how she tried to “login and see my account, but it doesn’t

appear to exist.” The email contains sensitive information about the customer’s

specific prescription medications and dosages, which Favor has redacted from the

exhibit (along with the customer’s name) to protect her privacy.

      28.    In a separate instance of confusion, the consumer wrote, “I had an

account with pill club with this email. I am trying to get account access with your

company now to cancel my subscription.”

      29.    That these customers revealed sensitive information to the wrong

company because of their confusion arising from Defendant’s infringing use of

FAVOR makes these situations all the more troubling.

      30.    Favor has also received communications from consumers who

incorrectly assumed that Favor merged with or acquired Pill Club. For example, one

consumer wrote to Favor by email, “I received an update text from the Pill Club about

my monthly Rx shipment and it looks like you guys have merged.”




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      31.    Similar incidents of confusion—including further instances of customers

attempting to log in to the wrong website or unwittingly providing sensitive personal

or medical information to Favor instead of to Defendant—are highly likely to repeat

so long as Defendant maintains its infringing use of FAVOR.

      32.    Defendant’s use of and application to register the Infringing Marks

enables Defendant to trade on and receive the benefit of goodwill built up at great

labor and expense by Favor over the years. Defendant’s use and application also

allows Defendant to gain acceptance for its goods and services not solely on their own

merits, but on the reputation and goodwill of Favor and its services.

      33.    Defendant’s infringement is and has been willful. On information and

belief, Defendant was aware of Favor’s prior use and registration of the FAVOR

Marks, but Defendant nonetheless chose to change its name from PILL CLUB to

FAVOR in or around March 2022. Defendant’s continued use of FAVOR after

receiving Favor’s letter in May 2022, which emphasized Favor’s senior and federally

registered trademark rights, further underscores the willfulness of Defendant’s

infringement.

      34.    Defendant’s use of and application to register the Infringing Marks

unjustly enriches Defendant at Favor’s expense. Defendant has been and continues

to be unjustly enriched by obtaining a benefit from Favor by taking undue advantage

of Favor and its accumulated goodwill in its FAVOR Marks.




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      35.     Unless this Court restrains this conduct, Defendant will continue to

cause irreparable injury to Favor and to the public for which there is no adequate

remedy at law.

    COUNT I: FEDERAL TRADEMARK INFRINGEMENT AND COUNTERFEITING OF
                             REGISTERED MARKS
               (15 U.S.C. §§ 1114(1), 1116(d), and 1117(b)–(c))

      36.     Favor repeats the allegations above as if fully set forth herein.

      37.     Favor owns federal registrations for its FAVOR Marks. See Ex. A. One

of the Favor Registrations, Reg. No. 4,424,908, has obtained incontestable status

under 15 U.S.C. § 1065.

      38.     Favor has clear priority in its FAVOR Marks. All of the filing dates,

registration dates, and first-use dates for the Favor Marks predate Defendant’s use

of and application to register the Infringing Marks.

      39.     Defendant’s unauthorized use of the Infringing Marks is likely to cause

confusion, to cause mistake, or to deceive.

      40.     Defendant thus has infringed and is infringing Favor’s registered

trademark rights in violation of 15 U.S.C. § 1114(1).

      41.     Defendant’s actions have been deliberate, willful, intentional, or in bad

faith, with full knowledge of and conscious disregard for Favor’s rights, and with the

intent to cause confusion and to trade on Favor’s goodwill.

      42.     In addition, because Defendant’s infringement involves the use of

counterfeit   marks—i.e.,    spurious    marks    identical   with,   or   substantially

indistinguishable from, Favor’s registered FAVOR marks—Defendant is liable for the



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enhanced anti-counterfeiting remedies provided by 15 U.S.C. §§ 1116(d) and 1117(b)

–(c).

  COUNT II: FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                           (15 U.S.C. § 1125(a))

        43.   Favor repeats the allegations above as if fully set forth herein.

        44.   Defendant’s actions constitute willful unfair competition and false

designation of origin in violation of 15 U.S.C. § 1125(a).

                COUNT III: COMMON LAW TRADEMARK INFRINGEMENT

        45.   Favor repeats the allegations above as if fully set forth herein.

        46.   Defendant’s actions constitute willful trademark infringement in

violation of the common law of the State of Texas.

                  COUNT IV: COMMON LAW UNFAIR COMPETITION

        47.   Favor repeats the allegations above as if fully set forth herein.

        48.   Defendant’s actions constitute willful unfair competition in violation of

the common law of the State of Texas.

              COUNT V: REFUSAL TO REGISTER U.S. SER. NO. 97/157,510
                         (15 U.S.C. §§ 1052(d) and 1119)

        49.   Favor repeats the allegations above as if fully set forth herein.

        50.   Because this action involves registered marks, the Court has authority

under 15 U.S.C. § 1119 to determine Defendant’s right to federally register the

Infringing Marks.

        51.   Defendant has filed to register the infringing mark FAVOR, as described

above. Defendant has no right to register that mark because it is likely to cause

confusion with the FAVOR Marks.

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      52.     Registration is thus barred by 15 U.S.C. § 1052(d).

      53.     Accordingly, the Court should enter an order certified to the Director of

the USPTO to refuse registration of Defendant’s pending application, Ser. No.

97/157,510, under 15 U.S.C. § 1119.

                             COUNT VI: UNJUST ENRICHMENT

      54.     Favor repeats the allegations above as if fully set forth herein.

      55.     Defendant’s actions constitute unjust enrichment of Defendant at the

expense of Favor.

                                         PRAYER

      Favor prays that:

      a.      Defendant, its affiliated companies, corporate entities, agents, servants,

employees, attorneys, and all other persons in active concert or participation with

them, be preliminarily and permanently enjoined from all use of the Infringing Marks

and any other mark or design that is confusingly similar to any of the FAVOR Marks,

including use of the Infringing Marks on Defendant’s products and services.

      b.      Defendant, its affiliated companies, corporate entities, agents, servants,

employees, and attorneys, and other persons who are in active concert or

participation with any of them, be required to deliver up and destroy any and all

products     bearing   any    of   the   Infringing   Marks,   all   packaging,   signage,

advertisements, internet postings and advertisements for those products, and any

other materials bearing or using the Infringing Marks or any other mark or design

that is confusingly similar to any of the FAVOR Marks;



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      c.      Defendant be ordered to file with this Court and to serve on Favor,

within 30 days after the entry and service on Defendant of an injunction, a report in

writing and under oath setting forth in detail the manner and form in which

Defendant has complied with the injunction;

      d.      the Court issue an order certified to the Director of the USPTO ordering

the refusal of Defendant’s pending application to register the mark FAVOR, U.S. Ser.

No. 97/157,510, under 15 U.S.C. § 1119;

      e.      Favor be awarded all monetary remedies to which it is entitled for

Defendant’s infringement and counterfeiting, including but not limited to actual

damages (trebled) and all profits realized by Defendant (adjusted upward as the

Court deems just), under 15 U.S.C. § 1117(a) and (b) and common law;

      f.      Favor be awarded statutory damages for Defendant’s counterfeiting, if

elected, under 15 U.S.C. § 1117(c);

      g.      Favor be awarded its reasonable attorney’s fees under 15 U.S.C.

§ 1117(a);

      h.      Favor be awarded the costs of this action;

      i.      Favor be awarded prejudgment and post-judgment interest; and

      j.      Favor be awarded any other relief as the Court may deem appropriate.

                                  JURY DEMAND

      Favor demands a jury trial on all issues trial by jury in accordance with

Federal Rule of Civil Procedure 38(b).




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Dated: June 24, 2022               Respectfully submitted,


                                   /s/ Travis R. Wimberly
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